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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 UNITED STATES OF AMERICA

 v.

 EDWARD CONSTANTINESCU,                           No. 4:22-CR-00612-S
 PERRY “PJ” MATLOCK,
 JOHN RYBARCZYK,
 GARY DEEL,
 STEFAN HRVATIN,
 TOM COOPERMAN,
 MITCHELL HENNESSEY,
 DANIEL KNIGHT.


                DEFENDANT’S MOTION FOR RETURN OF CASH BOND

TO THE HONORABLE ANDREW HANEN, UNITED STATES DISTRICT JUDGE:

        COMES NOW EDWARD CONSTANTINESCU and submits this Motion for the return
of the cash bond paid in the amount of $200,000.00 (receipt number # HOU112985). This case
was subsequently dismissed without prejudice on March 20, 2024. This Court ordered the return
of the Defendant’s cash bond directly to the Defendant on April 16, 2024. On May 14, 2024, the
Clerk’s Office for the Southern District of Texas issued a check for the amount owed, however,
it was not received and never cashed; the Treasury canceled the check. Counsel now files this
subsequent motion seeking the Court to vacate it’s April 14, 2024, order, and issue a new order
that the Clerk’s office to return the funds directly to Ford O’Brien Landy, LLP. An application
for assignment of these funds is submitted with this motion.
                                                                           Respectfully submitted,

                                                                  ___/s/Matthew A. Ford______
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                                                                  Emily Klair Bloom, 24123503
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                                                                           Austin, Texas 78738
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                                                                         Attorneys for Defendant
                                                                         Edward Constantinescu
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                                 CERTIFICATE OF SERVICE
       I hereby certify that on July 17, 2024, a true and correct copy of the foregoing document
has been electronically served on all counsel of record via the Court’s CM/ECF system.

                                                    ___/s/Matthew A. Ford ________
                                                    Matthew A. Ford
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